Case 3:20-cv-08267-ZNQ-TJB Document 61-1 Filed 03/30/21 Page 1 of 3 PageID: 838




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 March 30, 2021

 Hon. Freda L. Wolfson, Chief Judge U.S.D.C. N.J.
 Honorable Clarkson S. Fisher Building
 & U.S. Courthouse
 402 East State Street
 Room 2020
 Trenton, NJ 08608

 Re:    Conforti, et al v. Hanlon, et al
        Case No. 3:20-CV-08267-FLW

 Dear Judge Wolfson:

        This letter brief is submitted in support of the application of the proposed Intervenor
 Honorable James Hogan, the Gloucester County Clerk.

         The Honorable James Hogan has served as County Clerk for over 24 years and is in his
 fifth term as County Clerk which expires December 31, 2022. The Clerk was nominated and
 elected as a member of the Democrat party.

        On January 26, 2021 was the first time the Gloucester County Clerk was aware of this
 action. Plaintiffs’ counsel sent an email to all the County Clerks advising them of the filing of an
 amended complaint in this action and advising that the Gloucester County Clerk was not a party.
 in the above matter.

        The County of Gloucester monitored the litigation and filings and with the current
 dénouement of the matter has determined to appear to protect and vindicate the interests of the
 voters and citizens of the County of Gloucester. Thus, this month an engagement was entered into
 for my appearance and representation of the County in this matter.



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Case 3:20-cv-08267-ZNQ-TJB Document 61-1 Filed 03/30/21 Page 2 of 3 PageID: 839




        The Honorable James Hogan as the Gloucester County Clerk has previously and continues
 to take an active part in the administration and application of the election laws, primary elections,
 ballot design, ballot layout, ballot position drawings and the elections. Over his 24 years of service
 as Clerk this office has represented the Gloucester County Clerk where he has been named and
 involved in an extensive litigation and hearings. In addition to those matters, this office has
 represented the Gloucester County Clerk in these reported decisions:

    1. NJ Conservative Party v. Farmer, 324 N.J. Super. 451 (App. Div. 1999), on remand 332
       N.J. Super. 278 (Ch. Div. 1999) (State Political Parties and Recognition of Minor
       Parties);

    2. Sooy v. Gill, 340 N.J. Super. 401 (App. Div. 2001) (Ballot Design and Names and Titles
       of Public Officials);

    3. N.J. Democratic Party v. Samson, et al, 175 N.J. 178 (2002) (Resignation of Candidates
       and Filling of Vacancy on Democratic Senate Ballot);

    4. Andrews v. Rajoppi, cert. denied 195 N.J. 518 (2007) (Ballot design, layout and
       bracketing);

    5. Democratic-Republican Organization v. Guadagno, 900 f. supp. 2d 447 (DC-NJ 2012);
       700 F. 3d 130 (CA3 2012) (Challenge to constitutionality of ballot design and candidate
       placement)

    6. Democratic-Republican Organization v. Guadagno, (App. Div. 2014) 2015 WL 3948742



        Motions for permissive intervention are set forth in F.R.C.P. 24(b)(1)(B). see
 Commonwealth of Pennsylvania v. President United, States of Am., 888 F.3d 52, 57 (3d Cir.
 2018). “Whether to allow a party to permissively intervene is left to the sound discretion of the
 Court.” Worthington v. Bayer Healthcare, LLC, No. 11– 2793, 2011 WL 6303999, at 8 (D.N.J.
 Dec. 15, 2011)

        Proposed Intervenor Honorable James Hogan as the long serving Gloucester County Clerk
 has not only statutory and practical concerns over a decision in this matter but a demonstrated
 interest, involvement, and active participation in many other legal proceedings in this area. Thus
 proposed Intervenor Honorable James Hogan, the Gloucester County Clerk, has significant

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Case 3:20-cv-08267-ZNQ-TJB Document 61-1 Filed 03/30/21 Page 3 of 3 PageID: 840




 interests at stake. In the event this Court should decline to grant proposed Intervenor Honorable
 James Hogan, the Gloucester County Clerk application to intervene, then we seek to submit an
 amicus curia brief to the Court pursuant to F.R.C.P 29 and for the reasons set forth above.

         Proposed Intervenor’s entry and participation will not delay or impede these proceedings.
 A request for consent to this intervention was made to all parties and I have heard from the counties
 of Atlantic, Bergen, Hudson, Mercer, and the Office of the Attorney General, and Plaintiffs’
 counsel, all of whom have consented.

                                            CONCLUSION

         For the reasons above, we respectfully request that the Court enter the relief requested,
 permit intervention, or the right to file an amicus brief.



 Respectfully submitted,

 /JMC/

 John M. Carbone

 CC: all counsel of record




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